                                   Case 20-15026                 Doc 355           Filed 11/04/20              Page 1 of 9
                                                              United States Bankruptcy Court
                                                                   District of Maryland
In re:                                                                                                                 Case No. 20-15026-TJC
Parking Management, Inc.                                                                                               Chapter 11
       Debtor(s)
                                                     CERTIFICATE OF NOTICE
District/off: 0416-0                                                  User: laure                                                                 Page 1 of 2
Date Rcvd: Nov 02, 2020                                               Form ID: pdfall                                                            Total Noticed: 3
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Nov 04, 2020:
Recip ID                 Recipient Name and Address
db                     + Parking Management, Inc., 1725 DeSales Street, NW, Washington, DC 20036-4462
                       + Michael L. Bernstein, Esquire, Arnold & Porter Kaye Scholer LLP, 601 Massachusetts Avenue, N.W., Washington, DC 20001-5369

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
                       + Email/Text: ustpregion04.gb.ecf@usdoj.gov
                                                                                        Nov 02 2020 19:19:00      UST, 6305 Ivy Lane, Ste. 600, Greenbelt, MD
                                                                                                                  20770-6305

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Nov 04, 2020                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on November 2, 2020 at the address(es) listed
below:
Name                               Email Address
Alexander M. Laughlin
                                   alex.laughlin@ofplaw.com marse.hammond@ofplaw.com

Amy Michelle Simon
                                   amy.klug@hklaw.com

Augustus T Curtis
                                   augie.curtis@cohenbaldinger.com
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District/off: 0416-0                                      User: laure                                                            Page 2 of 2
Date Rcvd: Nov 02, 2020                                   Form ID: pdfall                                                       Total Noticed: 3
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US Trustee - Greenbelt
                          USTPRegion04.GB.ECF@USDOJ.GOV

Walter R. Kirkman
                          wkirkman@bakerdonelson.com cgregory@bakerdonelson.com


TOTAL: 26
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Entered: November 2nd, 2020
Signed: November 1st, 2020

SO ORDERED




                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF MARYLAND
                                               Greenbelt Division

        IN RE:                                          )
                                                        )
        PARKING MANAGEMENT, INC.                        )       Case No. 20-15026-TJC
                                                        )       Chapter 11 (Subchapter V)
                              Debtor                    )

            ORDER APPROVING STIPULATION REGARDING DISPOSITION OF BANK
          ACCOUNT PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 9019

                   The Court, having considered the Debtor’s Motion for Entry of an Order Approving

        Stipulation Regarding Disposition of Bank Account Pursuant to Federal Rule of Bankruptcy

        Procedure 9019 (the “Motion”), and the Stipulation Regarding Disposition Of Bank Account

        Pursuant To Federal Rule Of Bankruptcy Procedure 9019 (the “Stipulation”) presented to the Court

        and attached hereto as Exhibit 1, and the Declaration by Kingdon Gould III in Support of Debtor’s

        Motion for Entry of an Order Approving Stipulation Regarding Disposition of Bank Account

        Pursuant to Federal Rule of Bankruptcy Procedure 9019, attached to the Motion as Exhibit B, and

        the Declaration of Leonard C. Nardone, as Personal Representative for the Estate of Kingdon

        Gould, Jr., in Support of Debtor’s Motion for Entry of an Order Approving Stipulation Regarding

        Disposition of Bank Account Pursuant to Federal Rule of Bankruptcy Procedure 9019, attached to

        the Motion as Exhibit C, both submitted in support thereof, and good cause appearing therefor,

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         IT IS HEREBY ORDERED THAT:

         1.      The Stipulation is approved and shall have the force of this Order of this Court.

         2.      The Debtor is authorized to take all actions and execute all documents necessary or

appropriate to effectuate the the terms of the Stipulation, including making the Proposed

Distribution, as defined in the Motion.

         3.      This Court shall retain jurisdiction to hear and determine all matters arising from or

related to the interpretation and/or implementation of this Order and the Stipulation.

         4.      The Stipulation and this Order shall be effective immediately upon entry.




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                                       Exhibit 1

                                      Stipulation




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF MARYLAND
                                     Greenbelt Division

IN RE:                                        )
                                              )
PARKING MANAGEMENT, INC.                      )       Case No. 20-15026-TJC
                                              )       Chapter 11 (Subchapter V)
                 Debtor                       )

           STIPULATION REGARDING DISPOSITION OF BANK ACCOUNT
         PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 9019

         THIS STIPULATION is entered into as of June 26, 2020, by and between the Debtor,

Parking Management, Inc. (“Debtor”) and Leonard C. Nardone, as Personal Representative of the

Estate of Kingdon Gould, Jr. on behalf DeSales Venture, LLC and 1301 New York Avenue LLC.

         WHEREAS, the above-captioned Debtor’s name appears as the account holder of record on a

deposit account at Truist Bank (f/k/a SunTrust Bank), account number *********4588

(the “Account”).

         WHEREAS, as of the end of May 2020, the Account contained a balance of $3,799,401.61.

         WHEREAS, all of the funds in the Account were generated through the business activities of

two real estate investment partnerships: DeSales Venture, LLC (“DeSales”) and 1301 New York

Avenue LLC (“1301 New York,” and together with DeSales, the “Beneficial Owners”).

         WHEREAS, none of the funds in the Account were generated through business activities or

operations of the Debtor, and the Debtor has never used or claimed an interest in the Account or any

of the funds therein.

         WHEREAS, the Debtor has never treated the Account or funds therein as property of the

Debtor for tax, accounting or any other purpose.




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         WHEREAS, at no time have the funds in the Account been comingled with any of the

Debtor’s funds, and the Account was titled in the Debtor’s name solely for administrative

convenience, and with no intention that the Debtor would ever own, access or utilize such funds for

any purpose.

         WHEREAS, upon realization by the Debtor that the Account is still held in its name, it

advised Mr. Nardone, on behalf of the Beneficial Owners, of this fact and engaged in discussions

with Mr. Nardone with respect thereto.

         WHEREAS, the Debtor has investigated the relevant facts and has determined that the

Debtor holds no beneficial interest in the Account or the funds therein, but instead holds, at most,

bare legal title as a result of the Account bearing the Debtor’s name as Account holder.

         WHEREAS, the Debtor and Mr. Nardone have discussed and reached an agreement as to the

disposition of the Account and the funds therein.

         NOW THEREFORE, in consideration of the foregoing, the parties hereto stipulate and agree:

         1.      The Debtor shall distribute the funds in the Account to the two Beneficial Owners in

the amounts of $15,883 to DeSales and $3,783,468 to 1301 New York (the “Proposed Distribution”).

         2.      No later than five (5) business days following Court approval of the Stipulation, the

Debtor shall effectuate the Proposed Distribution.

         3.      The Stipulation shall be subject to approval by the Court, which the Debtor shall

promptly seek.

         4.      Upon approval by the Court, the Debtor is authorized to take all actions and execute

all documents necessary or appropriate to effectuate the terms the Stipulation, including the Proposed

Distribution.



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         5.      This Court shall retain jurisdiction to hear and determine all matters arising from or

related to the interpretation and/or implementation of the Stipulation.

Dated: __________, 2020
                                                ARNOLD & PORTER KAYE SCHOLER LLP

                                                /s/ Michael L. Bernstein
                                                Michael L. Bernstein (Bar No. 10406)
                                                601 Massachusetts Avenue, NW
                                                Washington, D.C. 20001
                                                TEL: 202.942.5000
                                                FAX: 202.942.5999
                                                Email: Michael.Bernstein@arnoldporter.com

                                                Attorney for Leonard C. Nardone, as Personal
                                                Representative of the Estate of Kingdon Gould, Jr.
                                                on behalf of the Beneficial Owners


                                                SHULMAN, ROGERS, GANDAL,
                                                PORDY & ECKER, P.A.

                                                /s/ Michael J. Lichtenstein
                                                Michael J. Lichtenstein (Bar No. 05604)
                                                12505 Park Potomac Avenue, Sixth Floor
                                                Potomac, Maryland 20854
                                                TEL: (301) 230-5231
                                                FAX: (301) 230-2891
                                                Email: MLichtenstein@shulmanrogers.com

                                                Attorney for the Debtor




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Copies to:

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Washington, DC 20001

Monique D. Almy, Esquire
Crowell& Moring LLP
1001 Pennsylvania Avenue, NW
Washington, DC 20004

                                    END OF ORDER




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